         Case 1:20-cr-10111-RWZ Document 167 Filed 06/30/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA


        v.
                                                  Crim. No. 20-10111-RWZ
 CHARLES LIEBER

        Defendant


  UNOPPOSED MOTION TO PARTIALLY UNSEAL MEMORANDUM AND ORDER

       The undersigned Filter AUSA respectfully requests that the Court partially unseal the

Court’s Memorandum and Order dated June 15, 2021, ECF No. 158 (the “M&O”), which ruled

on the Filter AUSA’s motion to disclose certain materials, ECF No. 100, (the “Filter Motion”).

The government has conferred with the defendant and provided him with the proposed partially

redacted M&O. The defendant does not oppose this motion and the parties have agreed on

proposed redactions.

       The reasons supporting the Filter AUSAs’ request to seal documents relating to this

matter no longer apply. The Filter Motion “addresse[d] whether the government Prosecution

Team may see and/or present certain documents at trial, and because the [Filter] Motion

disclose[d] the content of some of those documents, the government contend[ed] it would not be

appropriate for portions of those documents to be docketed publicly.” ECF No. 98 at 1. As the

Court has now concluded that the government Prosecution Team may see the documents

addressed by the Filter Motion, the Filter AUSA’s concerns about public docketing are now

moot and substantially outweighed by “presumptions of public access to judicial proceedings and

records.” United States v. Kravetz, 706 F.3d 47, 52 (1st Cir. 2013) (citation omitted).
         Case 1:20-cr-10111-RWZ Document 167 Filed 06/30/21 Page 2 of 3




       The Filter AUSA also recognizes that the protective order in this case, ECF No. 58,

orders the parties not to “publicly post, publish or in any way disseminate” any of the “discovery

materials” (as that term is defined in the protective order) produced by the government. Id. ¶ 3.

In light of that, the Filter AUSA proposes that the Court publicly docket a version of the M&O in

which references to the “discovery materials” would be redacted. If the Court grants this motion,

the Filter AUSA could provide the Court with proposed redactions under seal.

       For those reasons, the government respectfully requests that the Court partially unseal the

M&O referenced above.



                                             Respectfully submitted,

                                             NATHANIEL R. MENDELL
                                             Acting United States Attorney



                                      By:    /s/ Evan D. Panich
                                             EVAN D. PANICH
                                             Assistant United States Attorney
                                             617/748-3652




                                                2
         Case 1:20-cr-10111-RWZ Document 167 Filed 06/30/21 Page 3 of 3




                            LOCAL RULE 7.1 CERTIFICATION

I hereby certify that counsel for the defendant, Torrey Young, and I sought to narrow or resolve
the issues raised by this motion. Counsel for the defendant indicated that the defendant does not
object to the relief sought.

                                             /s/ Evan D. Panich
                                             EVAN PANICH
                                             Assistant United States Attorney

                                CERTIFICATE OF SERVICE


I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants .

                                             /s/ Evan D. Panich
                                             EVAN PANICH
                                             Assistant United States Attorney




Date: June 30, 2021




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